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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, CASE NUMBER
PLAINTIFF, _

Bvanden Miched WeDouA/ AFFIDAVIT OF THIRD-PARTY CUSTODIAN

DEFENDANT/MATERIAL WITNESS,

Having been ordered by the Court on 7 (c 3 a to take third-party custody of

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agree to (a) supervise the defendant/material witness, (b) use every effort to assure the defendant's/ material witness’
appearance at all court proceedings, and (c) notify Pretrial Services immediately if the defendant/material witness
violates a condition of release or is no longer in the custodian's custody. I understand that if I fail to discharge my

obligations under this agreement I may be held in contempt of court.

ee Third-Party Custodian @Pgtson or Organization)
Mother

Relationship to Defendant/Material Witness

Address (only if the above is an organization)

City and State only

QS). &SF- Sve

Date: 7 | *5 : 2 2 Telephone Number

CR-31 (03/15)

AFFIDAVIT OF THIRD-PARTY CUSTODIAN
